Case 1:23-cv-01496 Document 1-3 Filed 12/11/23 Page 1 of 2




             Exhibit C
12/8/23, 5:10 PM            Case 1:23-cv-01496     Document 1-3 Filed 12/11/23 Page 2 of 2
                                            records.co.bastrop.tx.us/PublicAccess/CaseDetail.aspx?CaseID=776863

  Skip to Main Content Logout My Account Search Menu New Civil Search Refine Search Back                           Location : All Courts Images Help

                                                         Register of Actions
                                                                 Case No. 423-9472

 CODY DAHL,TONYA COLE DAHL, Individually and as                                                        Case Type: Civil Case - Other
                                                                        §
 executors/Administrators of Estate of Abigail Opal Dahl, a deceased                                   Date Filed: 11/02/2023
                                                                        §
 minor child vs. ALPHABET, INC.,DISCORD, INC.,GOOGLE, LLC dba                                           Location: 423rd District Court
                                                                        §
 Duo/Meet, Gboard, Youtube, and all sudsidiaries,HOLLA GROUP, Ltd., dba
                                                                        §
 Monkey, SNAP, INC., dba SNAPCHAT,JOHN & JANE DOES 1-10, Corporate
                                                                        §
 COS., 1-10


                                                                   Party Information

                                                                                                                        Lead Attorneys
 Defendant     ALPHABET, INC.


 Defendant     DISCORD, INC.


 Defendant     GOOGLE, LLC


 Defendant     HOLLA GROUP LIMITED


 Defendant     SNAP, INC.


 Plaintiff     DAHL, CODY                                                                                               Pro Se


 Plaintiff     DAHL, TONYA COLE                                                                                         Pro Se


                                                              Events & Orders of the Court

            OTHER EVENTS AND HEARINGS
 11/02/2023 Original Petition (OCA)
 11/03/2023 Citation
 11/03/2023 Citation
               ALPHABET, INC.                                         Served                   11/15/2023
 11/03/2023 Citation
 11/03/2023 Citation
               DISCORD, INC.                                          Served                   11/16/2023
 11/03/2023 Citation
 11/03/2023 Citation
               GOOGLE, LLC                                            Served                   11/14/2023
 11/03/2023 Citation
 11/03/2023 Citation
               HOLLA GROUP LIMITED                                    Unserved
 11/03/2023 Citation
 11/03/2023 Citation
               SNAP, INC.                                             Served                   11/15/2023
 11/09/2023 Notice
 11/28/2023 Other/Misc
 11/28/2023 Other/Misc
 11/28/2023 Other/Misc
 11/28/2023 Other/Misc


                                                                 Financial Information



             Plaintiff DAHL, CODY
             Total Financial Assessment                                                                                                        390.00
             Total Payments and Credits                                                                                                        390.00
             Balance Due as of 12/08/2023                                                                                                        0.00

 11/02/2023 Transaction Assessment                                                                                                              350.00
 11/02/2023 Transaction Assessment                                                                                                               40.00
 11/02/2023 Payment                    Receipt # 2023-48627                                  DAHL, TONYA COLE                                 (390.00)




records.co.bastrop.tx.us/PublicAccess/CaseDetail.aspx?CaseID=776863                                                                                    1/1
